                                                                          Schedule 3
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                                                Supplemental Schedule of MIO’s Connections to Interested Parties
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Weil, Gotshal & Manges LLP

 New York, NY 10153-0119




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      767 Fifth Avenue




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             Original IP Name                             MIO Connection Name1                       MIO Connection Type
    1.       Advent International Corp.                   Instinet Europe Ltd                        Vendor

    2.       Canadian Imperial Bank of Commerce           CIBC World Markets Corp.                   Counterparty
    3.       Canadian Imperial Bank Of                    CIBC World Markets Corp.                   Counterparty
             Commerce, New York Agency
    4.       Constitution State Services LLC              Travelers Casualty & Surety Co of          Vendor
                                                          America
    5.       DB Energy Trading                            Deutsche Securities Korea Co.              Counterparty
    6.       Deutsche Bank                                Deutsche Securities Korea Co.              Counterparty
    7.       Deutsche Bank National Trust                 Deutsche Securities Korea Co.              Counterparty
             Company
    8.       Deutsche Bank Securities Inc                 Deutsche Securities Korea Co.              Counterparty
    9.       Deutsche Bank Trust Company                  Deutsche Securities Korea Co.              Counterparty
             Americas
    10.      Dynamics Inc                                 CIBC World Markets Corp.                   Counterparty
    11.      Fidelity and Guaranty Insurance              Travelers Casualty & Surety Co of          Vendor
             Underwriters Inc                             America
    12.      Great American Alliance Insurance            Great American Insurance Co.               Vendor
             Company
    13.      Great American Assurance Company             Great American Insurance Co.               Vendor
    14.      Great American E&S Insurance                 Great American Insurance Co.               Vendor
             Company
    15.      Great American Insurance Company             Great American Insurance Co.               Vendor
    16.      Great American Insurance Company             Great American Insurance Co.               Vendor
             and certain affiliates:
    17.      Great American Insurance Company of          Great American Insurance Co.               Vendor
             New York
    18.      Great American Spirit Insurance              Great American Insurance Co.               Vendor
             Company
    19.      ICE NGX Canada Inc                           ICE Data Derivatives Inc                   Vendor
    20.      International Business Machines Corp         Level 3 Communications, LLC                Vendor
    21.      Iron Mountain Mines                          Iron Mountain                              Vendor
    22.      KMPG SA                                      Thomson Reuters                            Vendor

    23.      KPMG Law Rechtsanwaltsgesellschaft           Thomson Reuters                            Vendor
    24.      Littler Mendelson PC                         Vanguard Exchange-Traded Funds             Investment
    25.      Macquarie Can                                Macquarie Bank Limited                     Counterparty
    26.      Macquarie Energy LLC                         Macquarie Bank Limited                     Counterparty
    27.      Macquarie Futures USA Inc.                   Macquarie Bank Limited                     Counterparty
    28.      MassMutual Life Insurance Company            Jefferies LLC                              Counterparty
                                                          Jefferies Group, Inc.                      Counterparty
    29.      Praxair                                      Cryostar Industries, Inc.                  Vendor
    30.      Praxair Services Inc                         Cryostar Industries, Inc.                  Vendor
    31.      PricewaterhouseCoopers LLP                   Abacus                                     Vendor

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 Where MIO was not able to confirm whether an entity on the Expanded Interested Party List was, in fact, the same entity to which
MIO has a connection, MIO included such possible connections in its report to the Proposed Professionals.

                                                          Schedule 3-1

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32.      The Northfield Insurance Company        Travelers Casualty & Surety Co of   Vendor
                                                 America
33.      The Standard Fire Insurance Company     Travelers Casualty & Surety Co of   Vendor
                                                 America
34.      The Travelers Home and Marine           Travelers Casualty & Surety Co of   Vendor
         Insurance Company                       America
35.      The Travelers Indemnity Company         Travelers Casualty & Surety Co of   Vendor
                                                 America
36.      The Travelers Indemnity Company of      Travelers Casualty & Surety Co of   Vendor
         America                                 America
37.      The Vanguard Group Inc                  Vanguard Exchange-Traded Funds      Investment
38.      Travelers Casualty Insurance            Travelers Casualty & Surety Co of   Vendor
         Company of America                      America
39.      Travelers Commercial Insurance          Travelers Casualty & Surety Co of   Vendor
         Company                                 America
40.      Travelers Indemnity Company of          Travelers Casualty & Surety Co of   Vendor
         Connecticut                             America
41.      Travelers Insurance Company of          Travelers Casualty & Surety Co of   Vendor
         America                                 America
42.      Travelers Property Casualty Company     Travelers Casualty & Surety Co of   Vendor
         of America                              America
43.      Travelers Property Casualty Insurance   Travelers Casualty & Surety Co of   Vendor
         Company                                 America




                                                 Schedule 3-2

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